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                                  STATEMENT OF FACTS

        I, Brant Doddy, am a Special Agent with the Criminal Investigations Division of the
Texas Department of Public Safety assigned to FBI’s North Texas Joint Terrorism Task Force
(NTJTTF) as an FBI Task Force Officer (TFO). My duties as an FBI TFO include investigating
foreign and domestic threats to the United States’ national security. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As an FBI
TFO, I am authorized by law or by a government agency to engage in or supervise the
prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session


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of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol
building without authority to be there.

             FACTS SPECIFIC TO KENNETH CHRISTIAN PAUL SCHULZ

        On March 29, 2021, I interviewed Kenneth Christian Paul Schulz (SCHULZ), of Dallas,
Texas, regarding his activities on January 6, 2021. SCHULZ stated that he travelled alone to
Washington, D.C., on or about January 4, 2021. SCHULZ stated that he observed a large crowd
of people gathering in front of the U.S. Capitol on January 6, 2021, and that he saw people
fighting with law enforcement. SCHULZ reported that he was pushed with a large crowd next to
scaffolding near the Capitol where he observed more people engaging in verbal and physical
confrontations with law enforcement. SCHULZ admitted that he entered the U.S. Capitol
building through a doorway and remained in the building for approximately five minutes before
leaving. SCHULZ stated that he did not take any pictures or post on any social media accounts
while he was in the building.

       I have studied video footage and still photographs of the January 6, 2021, incursion of the
U.S. Capitol, and I have identified SCHULZ among them based on my observation of SCHULZ
during the March 29, 2021, interview. As set forth below, the images and video footage that I
have reviewed, as well as the other facts gathered in this investigation, including SCHULZ’s
statements, establish that SCHULZ did unlawfully enter the U.S. Capitol on January 6, 2021.

       Public source video depicts SCHULZ climbing the stairs underneath scaffolding that had
been erected for the Presidential Inauguration. SCHULZ can be seen walking up the steps,
turning around, and pumping his fist in the air. (Figure 1).




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                               (Figure 1: Public source video)

       Public source video depicts SCHULZ outside the Senate Wing Doors on the west side of
the Capitol as windows were being broken with a riot shield and flagpole just before the first
individuals breached the building. (Figure 2).




                       (Figure 2: Public source video; Schulz circled;
                   arrow indicating riot shield being used to break window)



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       The FBI received a tip from a member of the public with a screenshot of a post by
Facebook user Kenneth Christian Paul Schulz. The post appears to be a video of the exterior of
the Senate Wing Door. The screenshot depicts a shattered door window and is captioned,
“TAKE THE CAPITOL.” (Figure 3).




           (Figure 3: Screenshot of Facebook post by Kenneth Christian Paul Schulz)

       Closed circuit video depicts SCHULZ entering the first floor of the Capitol through the
Senate Wing Doors on the west side of the building, at approximately 2:13 p.m., approximately
34 seconds after the first person breached the Capitol at that location. SCHULZ appears to use a
cellphone to take a picture (in portrait orientation) shortly after he entered. (Figures 4 and 5).




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        (Figure 4: CCTV of interior of Senate Wing Doors at approximately 2:13 p.m.)




         (Figure 5: CCTV of interior of Senate Wing Doors at approximately 2:13 p.m)

        The FBI received a tip from a member of the public with a screenshot of a post by
Facebook user Kenneth Christian Paul Schulz. The post includes a picture (in portrait
orientation) of the interior of the Capitol just inside the Senate Wing Door. The photo is
captioned, “STORMING THE CAPITOL.” (Figure 6).


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          (Figure 6: Screenshot of Facebook post by Kenneth Christian Paul Schulz)

       Closed circuit video and public source photographs depict SCHULZ among a small
group of individuals who entered the Ohio Clock Corridor before being stopped by law
enforcement. (Figures 7-9).




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          (Figure 7: CCTV of the Ohio Clock Corridor at approximately 2:17 p.m)




                            (Figure 8: Public source photograph)




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                            (Figure 9: Public source photograph)

       Closed circuit video depicts SCHULZ exiting the Capitol through the Senate Carriage Door
approximately six minutes after he entered. (Figure 10).




          (Figure 10: CCTV of the Senate Carriage Door at approximately 2:19 p.m)


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       The FBI received a tip from a member of the public with screenshots of two posts by
Facebook user Kenneth Christian Paul Schulz depicting a selfie of SCHULZ outside the Capitol
and a picture of the Rotunda Doors on the east side of the Capitol. The pictures are captioned,
“THIS IS OUR HOUSE” and “LET US IN THIS IS OUR HOUSE,” respectively. (Figures 11
and 12).




       (Figure 11: Facebook post)                          (Figure 12: Facebook Post)

      All of the Facebook posts described above (Figures 3, 6, 11, and 12) do not appear on
SCHULZ’s Facebook page as of February 1, 2023, which suggests that they have been deleted or
made private. It also appears as though SCHULZ has changed the name of his Facebook profile
from Kenneth Christian Paul Schulz to Kenneth Stark. (Figure 13).




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                             (Figure 13: Publicly available Facebook post)

        An individual posted a picture of himself with SCHULZ to Twitter with the caption,
“First guy to storm the capital today.” In the picture, SCHULZ is holding up one finger.
(Figure 14).




                             (Figure 14: Screenshot of Twitter post)




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       Based on my observation of SCHULZ during the March 29, 2021, interview, I recognize
SCHULZ as the person depicted in the profile picture in the Facebook posts in Figures 3, 6, 11,
12 and 13, as the person depicted in the Facebook photograph in Figure 11, and as the person
depicted in the Twitter post in Figure 14.

         Based on the foregoing, I submit that there is probable cause to believe that SCHULZ
violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do; and (2) knowingly, and with
intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the
Secret Service, including the Vice President, is or will be temporarily visiting; or any building or
grounds so restricted in conjunction with an event designated as a special event of national
significance.

        I submit there is also probable cause to believe that SCHULZ violated 40 U.S.C.
§ 5104(e)(2)(D) & (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in
the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                     _________________________________
                                                     BRANT DODDY
                                                     Special Agent, TFO
                                                     FBI


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 17th day of February, 2023.


                                                     ___________________________________
                                                     MOXILA A. UPADHYAYA
                                                     U.S. MAGISTRATE JUDGE



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